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                                   1                                  UNITED STATES DISTRICT COURT

                                   2                                 NORTHERN DISTRICT OF CALIFORNIA

                                   3                                          SAN JOSE DIVISION

                                   4
                                        ELASTICSEARCH, INC., et al.,
                                   5                                                        Case No. 19-cv-06158-EJD
                                                       Plaintiffs,
                                   6                                                        ORDER TO SHOW CAUSE RE
                                                v.                                          SETTLEMENT
                                   7
                                        AMAZON.COM, INC., et al.,                           Re: Dkt. No. 43
                                   8
                                                       Defendants.
                                   9

                                  10          The parties, having filed a Notice of Settlement on November 30, 2021 (See Docket Item

                                  11   No. 43), are ordered to appear before the Honorable Edward J. Davila on January 13, 2022 at

                                  12   10:00 AM in Courtroom No. 4, 5th Floor, United States District Court, 280 South First Street, San
Northern District of California
 United States District Court




                                  13   Jose, California, 95113, to show cause why the case should not be dismissed pursuant to Federal

                                  14   Rule of Civil Procedure 41(b). On or before January 3, 2022, the parties shall file a joint

                                  15   statement in response to the Order to Show Cause setting forth the status of settlement efforts as

                                  16   well as the amount of additional time necessary to finalize and file a dismissal.

                                  17          The Order to Show Cause shall be automatically vacated and the parties relieved of the

                                  18   obligation to file a joint statement if a stipulated dismissal pursuant to Federal Rule of Civil

                                  19   Procedure 41(a) is filed on or before January 3, 2022.

                                  20          All other pretrial deadlines and hearing dates are VACATED and any pending motions are

                                  21   TERMINATED.

                                  22          Failure to comply with any part of this Order will be deemed sufficient grounds to dismiss

                                  23   the action.

                                  24           IT IS SO ORDERED.

                                  25   Dated: 12/1/2021                                 ____________________________________
                                                                                        EDWARD J. DAVILA
                                  26                                                    United States District Judge
                                  27

                                  28
                                       Case No.: 19-cv-06158-EJD
                                       ORDER TO SHOW CAUSE RE SETTLEMENT
